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 Fill in this information to identify the case:

 Debtor name         White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-12808
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                            $37,569,929.00
       From 1/01/2018 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                            $51,836,000.00
       From 1/01/2017 to 12/31/2017
                                                                                                Other


       For year before that:                                                                    Operating a business                              $4,196,000.00
       From 1/01/2016 to 12/31/2016
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attachment 3                                                                        $48,543,266.09             Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Wilmington Trust, N.A., v.                       Breach of contract         United States District Court                Pending
               Estate of Louis Gonzales, et                     and specific               Southern District of Florida                On appeal
               al.                                              performance                400 North Miami Avenue                        Concluded
               15-23370                                         involving White            Miami, FL 33128
                                                                Eagle Asset
                                                                Portfolio, LP, as
                                                                the beneficial
                                                                owner of the
                                                                Gonzalez Policy
                                                                held by
                                                                Wilmington Trust,
                                                                as Securities
                                                                Intermediary



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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.2.    Wilmington Trust, N.A. v.                         Breach of contract        United States District Court           Pending
               Lincoln Benefit Life Co.                          and specific              Southern District of Florida         On appeal
               17-23669                                          performance               400 North Miami Avenue
                                                                                                                                Concluded
                                                                 involving White           Miami, FL 33128
                                                                 Eagle Asset
                                                                 Portfolio, LP, as
                                                                 the beneficial
                                                                 owner of the Matz
                                                                 Policy held by
                                                                 Wilmington Trust,
                                                                 as Securities
                                                                 Intermediary

       7.3.    Wilmington Trust, N.A., v.                        Breach of contract        United States District Court           Pending
               Lincoln Benefit Life Company                      and specific              District of Mississippi              On appeal
               17-00185                                          performance               501 East Court Street
                                                                                                                                Concluded
                                                                 involving White           Jackson, MS 39201
                                                                 Eagle Asset
                                                                 Portfolio, LP, as
                                                                 the beneficial
                                                                 owner of the
                                                                 Frankel Policy
                                                                 held by
                                                                 Wilmington Trust,
                                                                 as Securities
                                                                 Intermediary

       7.4.    Sun Life Assurance Co. of                         Breach of contract        United States Court of                 Pending
               Canada v. Imperial Premium                        and specific              Appeals                              On appeal
               Finance LLC, et al.                               performance               Eleventh Circuit
                                                                                                                                Concluded
               17-10189                                          involving White           56 Forsyth Street N.W.
                                                                 Eagle Asset               Atlanta, GA 30303
                                                                 Portfolio, LP, as
                                                                 the beneficial
                                                                 owner of 28
                                                                 SunLife policies.

       7.5.    Wilmington Trust, N.A. v.                         Breach of contract                                               Pending
               Lincoln Benefit Insurance                         and specific                                                   On appeal
               Company                                           performance
                                                                                                                                Concluded
                                                                 involving White
                                                                 Eagle Asset
                                                                 Portfolio, LP, as
                                                                 the beneficial
                                                                 owner of the Pohl
                                                                 Policy held by
                                                                 Wilmington Trust,
                                                                 as Securities
                                                                 Intermediary



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions


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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
                Recipient's name and address                    Description of the gifts or contributions                 Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                  Dates of loss      Value of property
       how the loss occurred                                                                                                                              lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.1.     Pachulski Stang Ziehl &                             The Debtor's parent, Emergent Capital,
                 Jones LLP                                           Inc. made a single payment on behalf of
                 10100 Santa Monica Blvd.                            the Debtor and its Debtor affiliates, White
                 13th Floor                                          Eagle General Partner, LP, and Lamington
                 Los Angeles, CA 90067                               Road Designated Activity Company                          11/14/18          $500,000.00

                 Email or website address
                 ww.pszjlaw.com

                 Who made the payment, if not debtor?
                 Emergent Capital, Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers       Total amount or
                                                                                                                        were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.


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               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was               Last balance
                Address                                         account number            instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents             Do you still
                                                                     access to it                                                                 have it?
                                                                     Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None

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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Miriam Martinez                                                                                                            2013 - current
                    5355 Town Center Road #701
                    Boca Raton, FL 33486

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Grant Thornton LLP                                                                                                         2013 - current
                    1301 International Parkway, Suite 300
                    Hollywood, FL 33027

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Miriam Martinez
                    5355 Town Center Road #701
                    Boca Raton, FL 33486
       26c.2.       Grant Thornton LLP
                    1301 International Parkway, Suite 300
                    Hollywood, FL 33027

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  CLMG Corp.
                    7195 Dallas Parkway
                    Attn: James Erwin
                    Plano, TX 75024
       26d.2.       LNV Corporation
                    c/o CLMG Corp.
                    7195 Dallas Parkway
                    Attn: James Erwin
                    Plano, TX 75024

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.


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               Name of the person who supervised the taking of the                          Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Lamington Road                                 c/o AMS Limited                                     Membership interest                    99.9%
       Designated Activity                            One Lane Hill, East Broadway
       Company                                        Box Hm265
                                                      Hamilton HMAX BERMUDA
       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       White Eagle General                            c/o AMS Limited                                     Membership interest                    0.1%
       Partner, LLC                                   One Lane Hill, East Broadway
                                                      Box Hm265
                                                      Hamilton HMAX BERMUDA
       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Miriam Martinez                                5355 Town Center Drive                              Chief Financial Officer
                                                      Suite 701
                                                      Boca Raton, FL 33486
       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Michelle Dreyer                                c/o CSC Entity Services, LLC                        Independent Manager
                                                      2711 Centerville Road, 3rd Floor
                                                      Wilmington, DE 19808


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates               Reason for
                                                                 property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Emergent Capital, Inc.                                                                                     EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.


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    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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SoFA Attachment 3

     Vendor Name                                           Payment Date    Debit Amount
     ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA            10/12/2018        $52,427.00
     ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA            11/30/2018        $51,902.00
     ALLIANZ LIFE INSURANCE COMPANY OF NORTH AMERICA            11/30/2018        $45,449.00
     Allstate Life Insurance Co.                                10/12/2018        $45,569.05
     AMERICAN GENERAL LIFE INSURANCE COMPANY                     9/28/2018        $39,167.13
     AMERICAN GENERAL LIFE INSURANCE COMPANY                     9/28/2018        $58,183.50
     AMERICAN GENERAL LIFE INSURANCE COMPANY                    10/12/2018        $61,735.30
     AMERICAN GENERAL LIFE INSURANCE COMPANY                    10/18/2018        $35,755.25
     AMERICAN GENERAL LIFE INSURANCE COMPANY                    11/13/2018        $76,199.35
     AMERICAN GENERAL LIFE INSURANCE COMPANY                    11/26/2018        $21,654.00
     AMERICAN GENERAL LIFE INSURANCE COMPANY                    11/15/2018        $74,564.06
     AMERICAN NATIONAL INSURANCE COMPANY                        11/13/2018        $18,961.57
     AMERICAN NATIONAL INSURANCE COMPANY                        11/30/2018        $25,245.07
     AMERITAS LIFE INSURANCE CORPORATION                         9/13/2018        $56,265.18
     AMERITAS LIFE INSURANCE CORPORATION                         9/17/2018        $11,853.68
     AMERITAS LIFE INSURANCE CORPORATION                        10/18/2018         $7,885.46
     AMERITAS LIFE INSURANCE CORPORATION                        11/13/2018        $14,329.99
     AMERITAS LIFE INSURANCE CORPORATION                        11/26/2018        $29,362.30
     AMERITAS LIFE INSURANCE CORPORATION                        11/30/2018        $11,325.47
     AMERITAS LIFE INSURANCE CORPORATION                        11/15/2018        $45,923.99
     AMERITAS LIFE INSURANCE CORPORATION                        12/10/2018        $32,866.75
     AMERITAS LIFE INSURANCE CORPORATION                        12/10/2018         $5,752.60
     AXA EQUITABLE UL/IL                                         9/13/2018        $12,408.12
     AXA EQUITABLE UL/IL                                         9/13/2018        $26,038.49
     AXA EQUITABLE UL/IL                                         9/13/2018        $48,552.44
     AXA EQUITABLE UL/IL                                         9/17/2018        $43,381.00
     AXA EQUITABLE UL/IL                                         9/17/2018        $69,513.00
     AXA EQUITABLE UL/IL                                         9/17/2018        $33,109.63
     AXA EQUITABLE UL/IL                                         9/17/2018        $86,812.67
     AXA EQUITABLE UL/IL                                         9/17/2018        $37,642.33
     AXA EQUITABLE UL/IL                                         9/17/2018        $86,812.67
     AXA EQUITABLE UL/IL                                         9/17/2018        $37,642.33
     AXA EQUITABLE UL/IL                                         9/20/2018        $23,809.87
     AXA EQUITABLE UL/IL                                         9/20/2018        $14,840.47
     AXA EQUITABLE UL/IL                                         9/20/2018        $37,637.41
     AXA EQUITABLE UL/IL                                         9/28/2018        $21,542.45
     AXA EQUITABLE UL/IL                                         9/28/2018        $14,061.29
     AXA EQUITABLE UL/IL                                         9/28/2018        $16,979.99
     AXA EQUITABLE UL/IL                                         9/28/2018         $4,957.32
     AXA EQUITABLE UL/IL                                         9/28/2018        $50,226.47
     AXA EQUITABLE UL/IL                                        10/12/2018        $77,503.49
     AXA EQUITABLE UL/IL                                        10/12/2018        $33,842.76
     AXA EQUITABLE UL/IL                                        10/12/2018        $23,630.54
     AXA EQUITABLE UL/IL                                        10/12/2018        $30,095.84
     AXA EQUITABLE UL/IL                                        10/12/2018        $47,349.72
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     Vendor Name                                              Payment Date    Debit Amount
     AXA EQUITABLE UL/IL                                           10/12/2018         $5,017.11
     AXA EQUITABLE UL/IL                                           10/12/2018        $24,803.76
     AXA EQUITABLE UL/IL                                           10/12/2018        $44,513.74
     AXA EQUITABLE UL/IL                                           10/18/2018        $48,579.60
     AXA EQUITABLE UL/IL                                           10/18/2018        $48,643.42
     AXA EQUITABLE UL/IL                                           10/18/2018         $3,317.14
     AXA EQUITABLE UL/IL                                           10/18/2018         $6,030.00
     AXA EQUITABLE UL/IL                                           10/29/2018        $54,114.21
     AXA EQUITABLE UL/IL                                           10/29/2018        $14,735.21
     AXA EQUITABLE UL/IL                                           10/29/2018        $50,304.40
     AXA EQUITABLE UL/IL                                           10/29/2018        $15,526.97
     AXA EQUITABLE UL/IL                                           11/13/2018        $14,873.17
     AXA EQUITABLE UL/IL                                           11/13/2018        $97,021.24
     AXA EQUITABLE UL/IL                                           11/13/2018        $67,810.42
     AXA EQUITABLE UL/IL                                           11/13/2018       $152,555.35
     AXA EQUITABLE UL/IL                                           11/26/2018        $11,960.05
     AXA EQUITABLE UL/IL                                           11/30/2018        $20,219.88
     AXA EQUITABLE UL/IL                                           11/30/2018        $20,233.11
     AXA EQUITABLE UL/IL                                           11/30/2018        $22,467.82
     AXA EQUITABLE UL/IL                                            11/2/2018        $66,154.03
     AXA EQUITABLE UL/IL                                            11/2/2018        $79,884.80
     AXA EQUITABLE UL/IL                                            11/2/2018        $19,166.98
     AXA EQUITABLE UL/IL                                           11/15/2018       $149,060.46
     AXA EQUITABLE UL/IL                                           11/15/2018        $22,511.12
     AXA EQUITABLE UL/IL                                           11/15/2018        $12,026.96
     AXA EQUITABLE UL/IL                                           11/15/2018        $18,999.11
     AXA EQUITABLE UL/IL                                           12/10/2018        $44,656.10
     AXA EQUITABLE UL/IL                                           12/10/2018       $140,964.81
     AXA EQUITABLE UL/IL                                           12/10/2018        $10,187.43
     AXA EQUITABLE UL/IL                                           12/10/2018        $22,929.53
     AXA EQUITABLE UL/IL                                           12/10/2018        $62,532.49
     AXA EQUITABLE UL/IL                                           12/10/2018        $28,257.01
     CLMG CORP.                                                    10/15/2018   $20,662,986.43
     CLMG CORP.                                                     10/9/2018     $3,500,000.00
     COLUMBUS LIFE INSURANCE COMPANY                               10/12/2018        $36,302.94
     CURTIS, MALLET‐PREVOST, COLT & MOSLE LLP                       9/28/2018        $40,003.72
     CURTIS, MALLET‐PREVOST, COLT & MOSLE LLP                      11/29/2018        $25,806.06
     GENWORTH LIFE INSURANCE COMPANY                                9/28/2018         $7,846.25
     HARTFORD LIE INSURANCE COMPANY                                 9/17/2018        $44,547.68
     HARTFORD LIE INSURANCE COMPANY                                 9/17/2018        $14,521.07
     HARTFORD LIE INSURANCE COMPANY                                10/29/2018       $521,244.32
     HARTFORD LIE INSURANCE COMPANY                                10/29/2018        $26,389.11
     HARTFORD LIE INSURANCE COMPANY                                11/15/2018        $85,465.26
     Holland & Knight LLP                                           9/28/2018        $59,084.18
     Holland & Knight LLP                                           9/28/2018        $62,363.11
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     Vendor Name                                           Payment Date    Debit Amount
     Holland & Knight LLP                                        9/28/2018        $38,864.84
     JOHN HANCOCK USA                                            9/17/2018        $65,628.00
     JOHN HANCOCK USA                                            9/17/2018         $7,678.04
     JOHN HANCOCK USA                                            9/17/2018        $17,967.00
     JOHN HANCOCK USA                                            9/17/2018         $7,683.21
     JOHN HANCOCK USA                                            9/20/2018       $106,139.00
     JOHN HANCOCK USA                                            9/20/2018        $41,210.94
     JOHN HANCOCK USA                                            9/20/2018        $23,543.76
     JOHN HANCOCK USA                                            9/20/2018        $14,173.08
     JOHN HANCOCK USA                                            9/28/2018       $190,322.19
     JOHN HANCOCK USA                                            9/28/2018         $2,929.39
     JOHN HANCOCK USA                                            9/28/2018       $112,467.00
     JOHN HANCOCK USA                                            9/28/2018        $17,989.00
     JOHN HANCOCK USA                                           10/12/2018        $35,813.00
     JOHN HANCOCK USA                                           10/18/2018       $196,305.91
     JOHN HANCOCK USA                                           10/29/2018         $7,148.64
     JOHN HANCOCK USA                                           11/13/2018       $133,659.96
     JOHN HANCOCK USA                                           11/26/2018        $63,977.00
     JOHN HANCOCK USA                                           11/26/2018        $38,371.00
     JOHN HANCOCK USA                                           11/26/2018       $122,216.00
     JOHN HANCOCK USA                                           11/26/2018        $63,977.00
     JOHN HANCOCK USA                                           11/15/2018        $26,350.03
     JOHN HANCOCK USA                                           11/15/2018        $56,916.83
     JOHN HANCOCK USA                                           11/15/2018        $25,377.00
     JOHN HANCOCK USA                                           11/15/2018        $54,922.12
     JOHN HANCOCK USA                                           12/10/2018       $108,120.21
     JOHN HANCOCK USA                                           12/10/2018        $67,587.26
     JOHN HANCOCK USA                                           12/10/2018        $32,714.45
     K&L GATES LLP                                               9/28/2018          $501.75
     K&L GATES LLP                                               9/28/2018          $914.47
     K&L GATES LLP                                               9/28/2018         $5,770.80
     K&L GATES LLP                                               9/28/2018         $2,701.35
     K&L GATES LLP                                               9/28/2018         $1,031.40
     K&L GATES LLP                                              11/29/2018         $2,867.75
     K&L GATES LLP                                              11/29/2018         $4,556.25
     K&L GATES LLP                                              11/29/2018         $4,270.30
     LINCOLN BENEFIT LIFE                                        9/13/2018        $35,656.60
     LINCOLN BENEFIT LIFE                                        9/13/2018         $3,378.61
     LINCOLN BENEFIT LIFE                                        9/28/2018        $64,452.52
     LINCOLN BENEFIT LIFE                                        9/28/2018        $50,934.19
     LINCOLN BENEFIT LIFE                                       10/12/2018        $48,862.56
     LINCOLN BENEFIT LIFE                                       10/12/2018        $84,633.75
     LINCOLN BENEFIT LIFE                                       10/12/2018        $57,427.53
     LINCOLN BENEFIT LIFE                                       10/29/2018        $19,033.76
     LINCOLN BENEFIT LIFE                                       10/29/2018        $65,445.54
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     Vendor Name                                           Payment Date    Debit Amount
     LINCOLN BENEFIT LIFE                                       10/29/2018        $25,426.49
     LINCOLN BENEFIT LIFE                                       10/29/2018        $19,033.76
     LINCOLN BENEFIT LIFE                                       10/29/2018        $33,360.09
     LINCOLN BENEFIT LIFE                                       10/29/2018        $47,978.60
     LINCOLN BENEFIT LIFE                                       11/13/2018        $67,341.79
     LINCOLN BENEFIT LIFE                                       11/26/2018         $9,111.28
     LINCOLN BENEFIT LIFE                                       11/26/2018        $19,266.64
     LINCOLN BENEFIT LIFE                                       11/26/2018       $159,741.13
     LINCOLN BENEFIT LIFE                                       11/26/2018       $159,741.13
     LINCOLN BENEFIT LIFE                                       11/30/2018        $14,438.70
     LINCOLN BENEFIT LIFE                                       11/30/2018       $167,749.85
     LINCOLN BENEFIT LIFE                                       11/30/2018       $182,640.49
     LINCOLN BENEFIT LIFE                                       11/30/2018        $95,497.42
     LINCOLN BENEFIT LIFE                                       11/30/2018        $18,284.79
     LINCOLN BENEFIT LIFE                                        11/2/2018        $27,896.99
     LINCOLN BENEFIT LIFE                                        11/2/2018       $142,782.62
     LINCOLN BENEFIT LIFE                                        11/2/2018         $6,757.49
     LINCOLN BENEFIT LIFE                                       11/15/2018        $26,196.25
     LINCOLN BENEFIT LIFE                                       11/15/2018         $5,119.99
     LINCOLN BENEFIT LIFE                                       12/10/2018         $3,635.37
     LINCOLN BENEFIT LIFE                                       12/10/2018        $22,910.22
     LINCOLN BENEFIT LIFE                                       12/10/2018        $25,708.27
     LINCOLN NATIONAL LIFE                                       9/13/2018        $30,306.50
     LINCOLN NATIONAL LIFE                                       9/13/2018        $26,702.60
     LINCOLN NATIONAL LIFE                                       9/13/2018        $31,034.93
     LINCOLN NATIONAL LIFE                                       9/13/2018        $25,911.96
     LINCOLN NATIONAL LIFE                                       9/13/2018        $23,921.49
     LINCOLN NATIONAL LIFE                                       9/13/2018        $17,727.81
     LINCOLN NATIONAL LIFE                                       9/17/2018        $89,281.37
     LINCOLN NATIONAL LIFE                                       9/20/2018        $29,338.00
     LINCOLN NATIONAL LIFE                                       9/20/2018         $4,828.42
     LINCOLN NATIONAL LIFE                                       9/20/2018        $10,906.90
     LINCOLN NATIONAL LIFE                                       9/20/2018        $43,271.88
     LINCOLN NATIONAL LIFE                                       9/20/2018        $80,691.71
     LINCOLN NATIONAL LIFE                                       9/20/2018        $20,936.70
     LINCOLN NATIONAL LIFE                                       9/20/2018        $12,330.50
     LINCOLN NATIONAL LIFE                                       9/28/2018        $22,802.92
     LINCOLN NATIONAL LIFE                                       9/28/2018         $8,788.33
     LINCOLN NATIONAL LIFE                                      10/12/2018         $7,424.45
     LINCOLN NATIONAL LIFE                                      10/12/2018        $31,700.97
     LINCOLN NATIONAL LIFE                                      10/12/2018       $144,518.30
     LINCOLN NATIONAL LIFE                                      10/12/2018         $7,344.85
     LINCOLN NATIONAL LIFE                                      10/12/2018        $47,450.99
     LINCOLN NATIONAL LIFE                                      10/12/2018        $56,385.39
     LINCOLN NATIONAL LIFE                                      10/12/2018        $50,356.62
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     Vendor Name                                           Payment Date    Debit Amount
     LINCOLN NATIONAL LIFE                                      10/12/2018        $62,715.58
     LINCOLN NATIONAL LIFE                                      10/12/2018       $184,603.60
     LINCOLN NATIONAL LIFE                                      10/12/2018        $50,357.09
     LINCOLN NATIONAL LIFE                                      10/12/2018        $30,064.14
     LINCOLN NATIONAL LIFE                                      10/12/2018        $22,294.00
     LINCOLN NATIONAL LIFE                                      10/12/2018        $30,111.07
     LINCOLN NATIONAL LIFE                                      10/12/2018        $24,895.55
     LINCOLN NATIONAL LIFE                                      10/12/2018       $256,556.75
     LINCOLN NATIONAL LIFE                                      10/18/2018         $8,073.42
     LINCOLN NATIONAL LIFE                                      10/18/2018       $174,274.02
     LINCOLN NATIONAL LIFE                                      10/18/2018        $19,917.62
     LINCOLN NATIONAL LIFE                                      10/18/2018       $107,191.53
     LINCOLN NATIONAL LIFE                                      10/18/2018        $37,127.00
     LINCOLN NATIONAL LIFE                                      10/18/2018         $3,253.72
     LINCOLN NATIONAL LIFE                                      10/18/2018        $47,484.17
     LINCOLN NATIONAL LIFE                                      10/29/2018       $199,912.71
     LINCOLN NATIONAL LIFE                                      10/29/2018        $17,151.73
     LINCOLN NATIONAL LIFE                                      10/29/2018        $78,263.37
     LINCOLN NATIONAL LIFE                                      10/29/2018        $48,407.48
     LINCOLN NATIONAL LIFE                                      10/29/2018        $16,845.00
     LINCOLN NATIONAL LIFE                                      10/29/2018       $107,069.73
     LINCOLN NATIONAL LIFE                                      11/13/2018        $27,041.25
     LINCOLN NATIONAL LIFE                                      11/13/2018       $144,448.10
     LINCOLN NATIONAL LIFE                                      11/13/2018        $34,133.70
     LINCOLN NATIONAL LIFE                                      11/13/2018        $52,354.60
     LINCOLN NATIONAL LIFE                                      11/13/2018        $20,156.52
     LINCOLN NATIONAL LIFE                                      11/13/2018        $15,525.68
     LINCOLN NATIONAL LIFE                                      11/26/2018         $6,100.41
     LINCOLN NATIONAL LIFE                                      11/26/2018       $145,016.38
     LINCOLN NATIONAL LIFE                                      11/26/2018        $59,307.17
     LINCOLN NATIONAL LIFE                                      11/26/2018       $164,490.99
     LINCOLN NATIONAL LIFE                                      11/26/2018         $8,841.00
     LINCOLN NATIONAL LIFE                                      11/26/2018        $11,085.48
     LINCOLN NATIONAL LIFE                                      11/26/2018       $162,765.38
     LINCOLN NATIONAL LIFE                                      11/30/2018        $36,726.00
     LINCOLN NATIONAL LIFE                                      11/30/2018        $74,578.15
     LINCOLN NATIONAL LIFE                                      11/30/2018        $40,073.39
     LINCOLN NATIONAL LIFE                                      11/30/2018        $53,876.14
     LINCOLN NATIONAL LIFE                                       11/2/2018         $7,767.20
     LINCOLN NATIONAL LIFE                                       11/2/2018         $5,363.03
     LINCOLN NATIONAL LIFE                                       11/2/2018       $171,864.01
     LINCOLN NATIONAL LIFE                                       11/2/2018        $21,722.18
     LINCOLN NATIONAL LIFE                                       11/2/2018        $43,518.38
     LINCOLN NATIONAL LIFE                                       11/2/2018        $50,085.68
     LINCOLN NATIONAL LIFE                                       11/2/2018        $25,861.33
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     Vendor Name                                              Payment Date    Debit Amount
     LINCOLN NATIONAL LIFE                                          11/2/2018        $54,523.04
     LINCOLN NATIONAL LIFE                                          11/2/2018        $20,639.00
     LINCOLN NATIONAL LIFE                                          11/2/2018        $66,596.74
     LINCOLN NATIONAL LIFE                                         11/15/2018        $18,236.32
     LINCOLN NATIONAL LIFE                                         11/15/2018        $15,834.86
     LINCOLN NATIONAL LIFE                                         11/15/2018        $96,681.74
     LINCOLN NATIONAL LIFE                                         11/15/2018       $144,420.05
     LINCOLN NATIONAL LIFE                                         11/15/2018        $41,923.95
     LINCOLN NATIONAL LIFE                                         11/15/2018        $27,416.52
     LINCOLN NATIONAL LIFE                                         11/15/2018        $77,377.22
     LINCOLN NATIONAL LIFE                                         11/15/2018        $13,771.04
     LINCOLN NATIONAL LIFE                                         12/10/2018       $182,973.59
     LINCOLN NATIONAL LIFE                                         12/10/2018       $106,483.65
     LINCOLN NATIONAL LIFE                                         12/10/2018        $20,070.72
     LINCOLN NATIONAL LIFE                                         12/10/2018        $16,051.27
     LINCOLN NATIONAL LIFE                                         12/10/2018        $16,971.66
     LINCOLN NATIONAL LIFE                                         12/10/2018        $11,224.93
     LINCOLN NATIONAL LIFE                                         12/10/2018        $61,389.31
     LINCOLN NATIONAL LIFE                                         12/10/2018        $73,182.84
     MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY                   10/12/2018         $9,441.74
     MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY                   10/29/2018        $63,470.44
     MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY                   11/30/2018        $46,625.00
     MASSACHUSETTS MUTUAL LIFE INSURANCE COMPANY                   12/10/2018        $93,008.28
     METROPOLITAN LIFE INSURANCE COMANY                             9/17/2018        $53,870.40
     METROPOLITAN LIFE INSURANCE COMANY                            10/12/2018        $13,647.15
     METROPOLITAN LIFE INSURANCE COMANY                            10/18/2018        $96,131.78
     METROPOLITAN LIFE INSURANCE COMANY                            10/18/2018        $96,131.79
     METROPOLITAN LIFE INSURANCE COMANY                            10/18/2018        $44,770.36
     METROPOLITAN LIFE INSURANCE COMANY                            11/30/2018        $55,321.63
     METROPOLITAN LIFE INSURANCE COMANY                             11/2/2018        $52,512.71
     MLF LEXSERV                                                   10/26/2018       $146,087.50
     MLF LEXSERV                                                   10/26/2018        $33,979.84
     NATIONAL WESTERN LIFE INSURANCE COMPANY                       10/29/2018        $36,939.74
     NATIONWIDE LIFE INSURANCE COMPANY                              9/17/2018        $24,263.46
     NATIONWIDE LIFE INSURANCE COMPANY                              9/20/2018        $77,503.92
     NATIONWIDE LIFE INSURANCE COMPANY                             10/12/2018        $86,296.77
     NATIONWIDE LIFE INSURANCE COMPANY                             10/12/2018        $59,205.19
     NATIONWIDE LIFE INSURANCE COMPANY                             10/29/2018        $16,597.55
     NATIONWIDE LIFE INSURANCE COMPANY                             11/26/2018        $45,254.45
     NATIONWIDE LIFE INSURANCE COMPANY                              11/2/2018       $119,535.17
     NATIONWIDE LIFE INSURANCE COMPANY                              11/2/2018       $107,734.93
     NATIONWIDE LIFE INSURANCE COMPANY                             12/10/2018        $75,749.39
     New York Life Insurance & Annuity                             10/18/2018        $96,156.52
     New York Life Insurance & Annuity                             11/26/2018        $15,328.82
     North American Company for Life & Health Insurance            11/15/2018         $8,863.06
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     Vendor Name                                           Payment Date    Debit Amount
     PACIFIC LIFE INSURANCE COMPANY                              9/17/2018        $61,341.00
     PACIFIC LIFE INSURANCE COMPANY                              9/17/2018        $73,501.72
     PACIFIC LIFE INSURANCE COMPANY                             10/18/2018        $62,006.84
     PACIFIC LIFE INSURANCE COMPANY                             11/13/2018        $21,062.92
     PACIFIC LIFE INSURANCE COMPANY                             11/26/2018       $176,261.63
     PACIFIC LIFE INSURANCE COMPANY                             11/30/2018        $55,384.87
     PACIFIC LIFE INSURANCE COMPANY                             11/30/2018        $78,429.38
     PACIFIC LIFE INSURANCE COMPANY                             11/30/2018        $25,336.15
     PENN MUTUAL LIFE INSURANCE COMPANY                         10/29/2018        $13,125.95
     PENN MUTUAL LIFE INSURANCE COMPANY                         10/29/2018        $17,299.00
     PHOENIX VARIABLE LIFE INSURANCE                             9/17/2018        $24,288.45
     PHOENIX VARIABLE LIFE INSURANCE                             9/17/2018        $27,373.15
     PHOENIX VARIABLE LIFE INSURANCE                             9/20/2018        $21,095.66
     PHOENIX VARIABLE LIFE INSURANCE                             9/28/2018        $45,522.60
     PHOENIX VARIABLE LIFE INSURANCE                            10/12/2018        $23,196.87
     PHOENIX VARIABLE LIFE INSURANCE                            10/12/2018        $14,482.05
     PHOENIX VARIABLE LIFE INSURANCE                            10/18/2018        $39,657.16
     PHOENIX VARIABLE LIFE INSURANCE                            10/18/2018        $37,265.78
     PHOENIX VARIABLE LIFE INSURANCE                            10/18/2018        $23,600.06
     PHOENIX VARIABLE LIFE INSURANCE                            10/18/2018        $15,319.08
     PHOENIX VARIABLE LIFE INSURANCE                            10/18/2018         $7,874.72
     PHOENIX VARIABLE LIFE INSURANCE                            10/29/2018         $5,678.28
     PHOENIX VARIABLE LIFE INSURANCE                            11/13/2018        $43,306.14
     PHOENIX VARIABLE LIFE INSURANCE                            11/30/2018        $36,612.41
     PHOENIX VARIABLE LIFE INSURANCE                            11/15/2018        $65,226.83
     PHOENIX VARIABLE LIFE INSURANCE                            11/15/2018        $40,816.64
     PHOENIX VARIABLE LIFE INSURANCE                            12/10/2018         $5,641.12
     PRINCIPAL LIFE INSURANCE COMPANY                            9/13/2018        $63,855.51
     PRINCIPAL LIFE INSURANCE COMPANY                            9/13/2018        $12,343.30
     PRINCIPAL LIFE INSURANCE COMPANY                            9/13/2018        $14,655.34
     PRINCIPAL LIFE INSURANCE COMPANY                            9/17/2018        $17,379.00
     PRINCIPAL LIFE INSURANCE COMPANY                            9/20/2018        $29,875.55
     PRINCIPAL LIFE INSURANCE COMPANY                            9/20/2018         $5,044.16
     PRINCIPAL LIFE INSURANCE COMPANY                            9/20/2018        $15,832.98
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018        $75,276.51
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018        $40,895.91
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018        $84,083.27
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018        $24,388.46
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018         $7,324.17
     PRINCIPAL LIFE INSURANCE COMPANY                           10/12/2018        $18,806.74
     PRINCIPAL LIFE INSURANCE COMPANY                           10/18/2018        $86,751.86
     PRINCIPAL LIFE INSURANCE COMPANY                           10/18/2018        $68,141.14
     PRINCIPAL LIFE INSURANCE COMPANY                           10/18/2018        $13,813.11
     PRINCIPAL LIFE INSURANCE COMPANY                           11/13/2018         $7,266.31
     PRINCIPAL LIFE INSURANCE COMPANY                           11/13/2018        $32,721.37
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     Vendor Name                                           Payment Date    Debit Amount
     PRINCIPAL LIFE INSURANCE COMPANY                           11/13/2018        $26,923.02
     PRINCIPAL LIFE INSURANCE COMPANY                           11/13/2018        $61,202.37
     PRINCIPAL LIFE INSURANCE COMPANY                           11/13/2018        $61,090.34
     PRINCIPAL LIFE INSURANCE COMPANY                           11/26/2018        $40,783.59
     PRINCIPAL LIFE INSURANCE COMPANY                           11/26/2018        $14,768.51
     PRINCIPAL LIFE INSURANCE COMPANY                           11/26/2018        $12,711.40
     PRINCIPAL LIFE INSURANCE COMPANY                           11/30/2018        $23,617.58
     PRINCIPAL LIFE INSURANCE COMPANY                            11/2/2018        $40,504.45
     PRINCIPAL LIFE INSURANCE COMPANY                           12/10/2018        $26,400.17
     PROTECTIVE LIFE INSURANCE COMPANY                          11/13/2018        $32,648.15
     PROTECTIVE LIFE INSURANCE COMPANY                          11/26/2018        $34,946.70
     PRUDENTIAL INSURANCE COMPANY                                9/17/2018       $109,786.41
     PRUDENTIAL INSURANCE COMPANY                                9/20/2018        $24,383.52
     PRUDENTIAL INSURANCE COMPANY                               11/13/2018         $5,707.02
     PRUDENTIAL INSURANCE COMPANY                               11/13/2018         $5,707.02
     PRUDENTIAL INSURANCE COMPANY                               11/13/2018         $2,869.54
     PRUDENTIAL INSURANCE COMPANY                               11/30/2018        $14,219.46
     PRUDENTIAL INSURANCE COMPANY                               11/30/2018       $145,095.30
     PRUDENTIAL INSURANCE COMPANY                               11/30/2018        $38,985.76
     RELIASTAR                                                   9/13/2018        $20,629.30
     RELIASTAR                                                   9/17/2018         $3,737.48
     RELIASTAR                                                   9/20/2018          $964.04
     RELIASTAR                                                  10/12/2018        $19,115.57
     RELIASTAR                                                  10/18/2018        $23,163.88
     RELIASTAR                                                  10/18/2018        $44,644.00
     RELIASTAR                                                  10/18/2018        $21,941.39
     RELIASTAR                                                  10/29/2018        $20,627.06
     RELIASTAR                                                  10/29/2018        $42,598.33
     RELIASTAR                                                  10/29/2018         $9,215.69
     RELIASTAR                                                  11/13/2018         $7,816.02
     RELIASTAR                                                  11/13/2018         $2,843.00
     RELIASTAR                                                  11/13/2018        $21,218.24
     RELIASTAR                                                  11/26/2018        $14,734.13
     RELIASTAR                                                  11/26/2018         $9,151.79
     RELIASTAR                                                  11/26/2018         $9,090.88
     RELIASTAR                                                  11/30/2018        $10,006.50
     RELIASTAR                                                  11/30/2018        $34,059.52
     RELIASTAR                                                  11/30/2018        $20,321.38
     RELIASTAR                                                  11/30/2018        $22,419.70
     RELIASTAR                                                  11/30/2018        $19,195.85
     RELIASTAR                                                  11/30/2018       $113,138.83
     RELIASTAR                                                  11/30/2018        $37,731.54
     RELIASTAR                                                  11/15/2018        $18,254.21
     RELIASTAR                                                  11/15/2018        $21,157.03
     RELIASTAR                                                  12/10/2018        $27,180.40
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     Vendor Name                                           Payment Date    Debit Amount
     RELIASTAR                                                  12/10/2018        $57,180.62
     RELIASTAR                                                  12/10/2018        $24,513.56
     RELIASTAR                                                  12/10/2018        $69,309.94
     RELIASTAR                                                  12/10/2018        $69,309.98
     RELIASTAR                                                  12/10/2018         $7,678.78
     SECURITY LIFE OF DENVER                                    10/12/2018        $45,950.04
     SECURITY LIFE OF DENVER                                    10/12/2018       $153,581.00
     SECURITY LIFE OF DENVER                                    10/18/2018       $106,376.26
     SECURITY LIFE OF DENVER                                    10/18/2018        $84,213.98
     SECURITY LIFE OF DENVER                                    10/29/2018        $46,848.91
     SECURITY LIFE OF DENVER                                    11/26/2018         $5,037.72
     SECURITY LIFE OF DENVER                                    12/10/2018        $82,606.96
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/13/2018        $29,522.50
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/13/2018        $22,810.11
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/17/2018        $65,413.77
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/17/2018        $77,204.88
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/20/2018         $5,056.27
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/28/2018        $14,133.14
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/28/2018        $24,702.95
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/28/2018        $24,702.95
     SUN LIFE ASSURANCE COMPANY OF CANADA                        9/28/2018        $11,719.74
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $51,362.14
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018         $7,507.48
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $25,661.30
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $89,766.70
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $10,142.46
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018         $9,516.55
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $12,049.17
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $36,581.77
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/12/2018        $21,491.56
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/18/2018       $112,573.49
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/18/2018        $32,135.99
     SUN LIFE ASSURANCE COMPANY OF CANADA                       10/29/2018        $73,299.92
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/13/2018        $10,111.87
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/13/2018        $74,032.62
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/26/2018        $35,848.33
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018        $24,109.86
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018        $13,421.41
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018        $26,994.05
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018         $6,666.18
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018        $13,420.60
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/30/2018        $32,897.73
     SUN LIFE ASSURANCE COMPANY OF CANADA                       11/15/2018        $24,699.18
     SUN LIFE ASSURANCE COMPANY OF CANADA                       12/10/2018        $21,938.64
     SUN LIFE ASSURANCE COMPANY OF CANADA                       12/10/2018        $10,399.55
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     Vendor Name                                           Payment Date    Debit Amount
     SUN LIFE ASSURANCE COMPANY OF CANADA                       12/10/2018        $54,274.54
     SUN LIFE ASSURANCE COMPANY OF CANADA                       12/10/2018        $28,669.83
     SUN LIFE ASSURANCE COMPANY OF CANADA                       12/10/2018         $9,598.25
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/13/2018        $24,118.95
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/13/2018        $13,779.15
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/17/2018        $48,309.03
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/17/2018       $150,831.36
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/17/2018        $47,645.96
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/20/2018        $39,938.23
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/20/2018        $16,716.00
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/20/2018        $23,182.65
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/20/2018        $11,986.65
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018        $53,029.11
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018        $31,457.22
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018       $168,572.79
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018        $40,452.33
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018        $45,139.68
     TRANSAMERICA LIFE INSURANCE COMPANY                         9/28/2018        $31,214.67
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018        $13,894.55
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018       $110,819.47
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018        $89,808.94
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018       $364,673.80
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018        $76,864.08
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018         $4,723.36
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018        $13,540.42
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/12/2018        $61,878.18
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018       $223,225.93
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018         $7,695.72
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018         $9,450.35
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018        $24,327.70
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018        $89,019.66
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018        $11,837.97
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018        $44,619.87
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018        $39,706.19
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/18/2018       $119,889.01
     TRANSAMERICA LIFE INSURANCE COMPANY                        10/29/2018        $21,550.18
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018        $49,815.96
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018       $178,324.37
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018        $11,005.25
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018        $55,536.10
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018       $119,450.86
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018         $1,906.68
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018        $80,715.20
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/13/2018        $33,348.60
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $22,858.36
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     Vendor Name                                           Payment Date    Debit Amount
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018       $200,440.82
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $34,174.45
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $16,666.86
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $27,030.57
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018         $6,225.84
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $38,297.20
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $35,803.06
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $15,242.70
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018         $9,746.05
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018         $3,614.96
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $35,803.06
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $36,816.26
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $14,413.72
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $39,706.19
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018         $6,400.42
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $95,909.37
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018         $2,451.37
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $20,172.37
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $45,351.00
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $96,834.76
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $26,752.46
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $22,599.45
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018       $230,499.00
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018        $35,803.06
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/26/2018       $101,924.81
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $91,025.66
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018       $126,736.30
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $20,798.17
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $22,749.57
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $18,626.19
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $67,350.38
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018        $33,265.50
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/30/2018       $133,086.82
     TRANSAMERICA LIFE INSURANCE COMPANY                         11/2/2018       $122,445.69
     TRANSAMERICA LIFE INSURANCE COMPANY                         11/2/2018        $95,243.84
     TRANSAMERICA LIFE INSURANCE COMPANY                         11/2/2018       $173,050.84
     TRANSAMERICA LIFE INSURANCE COMPANY                         11/2/2018        $28,885.43
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/15/2018        $28,958.21
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/15/2018        $50,895.66
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/15/2018        $20,218.23
     TRANSAMERICA LIFE INSURANCE COMPANY                        11/15/2018        $31,161.97
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018         $1,312.89
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018         $6,725.71
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $34,625.46
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $17,551.09
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     Vendor Name                                           Payment Date    Debit Amount
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $76,700.90
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $37,291.36
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $34,999.20
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $11,917.00
     TRANSAMERICA LIFE INSURANCE COMPANY                        12/10/2018        $31,824.30
     United of Omaha Life Ins. Co.                              11/15/2018         $9,388.24
     US FINANCIAL INSURANCE COMPANY                              11/2/2018        $13,929.00
     US FINANCIAL INSURANCE COMPANY                             12/10/2018        $26,416.12
     WALDMAN TRIGOBOFF HILDEBRANDT & CALNAN,P.A.                 9/28/2018         $1,320.00
     WALDMAN TRIGOBOFF HILDEBRANDT & CALNAN,P.A.                 9/28/2018         $2,880.00
     WALDMAN TRIGOBOFF HILDEBRANDT & CALNAN,P.A.                 9/28/2018         $6,400.89
     Waller Lansden Dortch & DavisLLP                            9/28/2018         $9,145.00
     Waller Lansden Dortch & DavisLLP                            9/28/2018        $13,364.00
     Waller Lansden Dortch & DavisLLP                           11/13/2018         $1,917.50
     Waller Lansden Dortch & DavisLLP                           11/13/2018        $19,788.69
     Weinberg Zareh Malkin Price LLP                             9/28/2018        $11,691.50
     WEST COAST LIFE INSURANCE COMPANY                          11/13/2018       $107,019.61
     WEST COAST LIFE INSURANCE COMPANY                          11/26/2018        $17,077.80
     WEST COAST LIFE INSURANCE COMPANY                          12/10/2018        $12,833.21
     WILTON REASSURANCE LIFE CO. OF NY                           11/1/2018        $19,588.39
     WILMINGTON TRUST, N.A.                                     10/15/2018        $83,080.00
     LAMINGTON ROAD BERMUDA, LTD.                               10/15/2018       $177,000.00
                                                                             $48,543,266.09




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